        Case 4:20-cr-00288-DPM Document 172 Filed 01/04/22 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

UNITED STATES OF AMERICA                   )
                                           )
      v.                                   )         No. 4:20-CR-00288-02 DPM
                                           )
BRITTANY DAWN JEFFREY                      )

              MOTION OF CJA COUNSEL TO BE RELIEVED

      This defense counsel was appointed under the Criminal Justice Act to

represent the accused. Today, two attorneys entered appearances as retained

counsel. Doc. 170–71.

      “In any case in which appointment of counsel has been made under the CJA

and the court subsequently finds that the person is financially able to obtain counsel,

such appointment should be terminated ...” Therefore, under Guide to Judiciary

Policy, Vol 7 Defender Services, Part A Guidelines for Administering the CJA and

Related Statutes § 220.60.

                                               Respectfully submitted,

                                               JOHN WESLEY HALL
                                                Ark. Bar No. 73047
                                               1202 Main St.; Suite 210
                                               Little Rock, Arkansas 72202-5057
                                               (501) 371-9131 / fax (501) 378-0888
                                               e-mail: ForHall@aol.com
                                                 CJA Attorney for Defendant



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